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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                             CRIMINAL 10-0412CCC
 1) JOSE A. RODRIGUEZ-LESPIER
 2) ROLANDO NATAL-SABATER
 3) RENE RAMIREZ-ALZAMORA
 4) RUBEN FERNANDEZ-LOPEZ
 5) MANUEL PEREZ-HUERTAS
 6) MAGALI L. FERNANDEZ-LOPEZ
 7) MELISSA MADERA-LABOY
 8) CARLOS D. MARTINEZ-MENDOZA
 9) ERIC C. GONZALEZ-MELENDEZ
 10) WILFREDO LOPEZ-MARTINEZ
 11) CARLOS RIVERA-VELAZQUEZ
 12) CRISTOBAL MUÑOZ-GARCIA
 13) JOSE M. ALBIZU-RIVERA
 14)JUAN M. LOPEZ-COLON
 15) JOSE A. COSME-MALDONADO
 16) RUFINO COLON-PEREZ
 17) MARIA L. COLON-VEGA
 18) EDWIN GARCIA-RIOS
 19) WILLIAM FLORES-LESPIER
 20) RAFAEL IRIZARRY-SANTOS
 21) WILLIAM ROSADO-GUZMAN
 22) NIURKA M. MUÑOZ-GOMEZ
 23) JOSE M. GOMEZ-ZALDO
 24) CARLOS R. RODRIGUEZ-VEGA
 25) SANTOS R. MONTES-MONTALVO
 26) SOTERO GONZALEZ-LOPEZ
 27) FELIX MALDONADO-RIOS
 28) ERIC HIRAM GONZALEZ-CHACON
 29) JOSE M. FELICIANO-RIVERA
 30) JOSE E. LOPEZ-MIRANDA
 31) MELVIN J. OJEDA-VAZQUEZ
 32) JAVIER O. PEREZ-HERNANDEZ
 33) GUSTAVO A. VELEZ-OQUENDO
 34) LORIMAR SANTIAGO-RODRIGUEZ
 Defendants


                                         ORDER

       Having considered the Report and Recommendation filed on July 29, 2013 (docket
entry 1278) on a Rule 11 proceeding of defendant William Flores-Lespier (19) held before
U.S. Magistrate Judge Camille L. Vélez-Rivé on July 24, 2013, to which no objection has
been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is accepted.
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The Court FINDS that his plea was voluntary and intelligently entered with awareness of his
rights and the consequences of pleading guilty and contains all elements of the offense
charged in the indictment.
      This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since July 24, 2013. The sentencing hearing is set for November 5,
2013 at 4:40 PM.
      SO ORDERED.
      At San Juan, Puerto Rico, on August 26, 2013.



                                         S/CARMEN CONSUELO CEREZO
                                         United States District Judge
